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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

Second Baptist Church,                 §
                                       §
      Plaintiff,                       §     NO: SA:20-CV-00029-DAE
vs.                                    §
                                       §
City of San Antonio,                   §
                                       §
      Defendant.                       §

       ORDER GRANTING PLAINTIFF'S MOTION AND ORDER
       RESETTING PRELIMINARY INJUNCTION HEARING
       Before the Court is PLAINTIFF’S MOTION FOR AN EXPEDITED

HEARING FOR ITS MOTION FOR PRELIMINARY INJUNCTION (dkt no.

12). The Court finds the motion (Dkt no. 12) to be well taken and is GRANTED.

         It is hereby ORDERED that the above entitled and numbered case is

reset for a hearing regarding the pending MOTION for Preliminary Injunction

(Dkt no. 3) before Senior U.S. District Judge David A. Ezra in Courtroom 5, on

the Third Floor of the John H. Wood, Jr. United States Courthouse, 655 East

Cesar E. Chavez Boulevard, San Antonio, TX, on Tuesday, February 18, 2020

at 01:30 PM.

         The Defendant's response to the referenced pending motion is due

Thursday, January 30, 2020 by the close of business day. The Plaintiff's reply to
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the Defendant's response is due Thursday, February 6, 2020 by the close of

business day.

       IT IS SO ORDERED.

       DATED: San Antonio, Texas January 21, 2020.



                                       ______________________________
                                       DAVID A. EZRA
                                       SENIOR U.S. DISTRICT JUDGE
